Case 1:23-mj-00007-JRC Document 1-1 Filed 01/04/23 Page 1 of 1 PagelD #: 17

AUA.LVMDIS

aLVva

WY TS

*SULIO9U09 JUBSTFIUSIS ore AjLInoas Jo ‘Ajayes ot[qnd WWSIT} pue ‘poytwigns yuouMdop [eulUNIO est SIy,.  —- (“IOS

€202 ‘p Atenuer

(eu0 yDeqD)
SUOTE[NSAI JO 9Nje}s Joyo SUIMOT[OF 9}

Aq Jo “(Q)OELE “O'S'N TE Aq pasnoxe st aatAlag (“gl ‘TloT}98 ST) 0} sonsed [Je Uodn paaros Apdurosd 9q [IM JO seq sey Joye UoNeordde stjo Adosy OCW

ALVA

SOLO S. YATO NI GHAISOTN

ogy YY ” aOdNfr ALVULSIOVI ‘S11
°,) Vy Pour) €Z0Z/t/1

OA MAGN S udpyoorg ‘*CALVa

‘LYNOO FHL

Ad GHaACAO SSHINA GHTIVASNN Wa LON AVI GNV
“A010 S.AUATO FHL NI GAOV' Td GNV GATVAS GAWAGCNO

Soe Supusd “UONesTSOAUT [EULWITS SUIOSUC)

[ees Jopun SuIpy seziioyjne
yey} SIS [edo] JOYIO IO ‘UOTE[NZal ‘9jnze}s 94) “UOTJeaTTdde MoU v JT (q

:porayuq 97eq]
ospne sJeNstseyospne
:poroyuy YIY AA Ul eased Jo JaquMN 19990q

AaIpAQ JANOD J0LId & 0} yUBNsANd Jy (W

oe :

7D, cad Ih,
o>. 5,
i => wae -

H cy

teen t

‘MOTAMAS HO NOLLVOMILYAD AXOLVONVIAL

2J03]S JOxIOP UO pa.iojue oq 0} JUeNSOP Jo UONMLIDsep 93u}s ‘sad JT

ON SHA «LHS LYAOOd OTe Nd FHL NOdn SLVOIGNI

AOS [Opsn@)s|[OL MaIp :ssoippy [Ie W-q
E8L9-PSC-8IL -TequUInN suo
TOZTT AN ‘UAT{O0Ig
sey ezeyq uewlpe) [17 = :ssolppV
ANG - OVS{smweN WUILy
OW “H MoIq :oweyy
/ [od yuepusyed Snureld -Ad Ga LLINANS

9K 29 ie fs fe fe fe fe fs fe fs fe i fe os oe os oe oie oie oe ae oe oie ae oie oie ie oe os

yoqumnyy 19390q, TAHOIW NaTTANNV

LW €z oA

VORIANYV JO SHLVLS CHLINN

i 0 2 oi 5 2 2 of oo 2 of oe 2 2 io oo oo Eo oe KE

TVS WAGNN INDANOOd ATL OL
GAVAT WOU NOILVOlIddV

MYOA MAN FO LORLLSIG NYALSVa
LYN) LORMAISIG SaLV.LS (aLINA
9HIO §491D -O.L

